ADJUSTABLE RATE NOTE
(LIBOR Six Month Index (as Published in The Wall. Street Journal) - Payment and Rate Caps
2 YEAR RATE LOCK. .

THIS NOTE CONTAINS PROVISIONS
THE MONTHLY PAYMENT. ~ :

September 24, 2004 YONKERS . __ NEW YORK
(Date) 1 (City) (State)

152 BEECH STREET <s _ YONKERS, NEW YORK 10701
! (Property Address)

1. BORROWER’S PROMISE TO PAY

In retutn for a loan that I have received, t promise to pay 3915040. 00
(this ammount is called principal"), plus interest, to the order of the Lender, The Lender is

NEW CENTURY MORT@AGE CORPORATION
| & California €
T understand that the Lender may ‘transfér’ this- Note. The Lender oF anyone who takes this
Note by transfer and who is entitled to receive: payments under this Note is : called the "Note
Holder.” :

2. INTEREST

Interest will be charged on unpaid principal until, the full amount of principal has been paid. I
will pay interest at a yearly rate of 6.5000: . %. ‘The interest rate T will pay may
change. The interest rate required by j Section: 2 and Section 4 is the rate I will pay both
before and after any default*described in iol 7B) of this Note.

The interest rate T will pay ‘may change on the first day of
October, 2006 » and on that day every 6th month thereafter. Each date on which my
interest tate could change is called an "Interest-Rate Change Date.” The new rate of interest
will become effective on cach. Interest Rate Change Date. in accordance with Section 4 of this
Note. .
3. PAYMENTS

{A) Time and Pe of Fast

Beginning on the first day of November, 2004 and on the first day of every month
thereafter until the first day of .Octobar , 2006 . , EF will pay only interest on
the unpaid principal balance of the- Note: Thereafter, T will pay principal and interest, by
making payments every month until the Maturity Date, as provided below. 1 will make these
payments every month until I have paid all of the principal and interest and any other charges
described below that ¥ may owe under this Noteé.

My monthly payments will be applied to interest before principal. If onfctober 1,
2034 —, I stil] owe amounts under this Note, T will pay those amounts in full on that date, —
which is called the”Maturity Date.”

NCMC. ue to my 0001870348

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T will make my monthly payments at’: 1840 VON KARWAN, SUITE 1000
IRVINE, CA 92612 - " of at a different place if required by the Note Holder.
(B) Amount of My ‘Monthly Payments

Bach of my inital monthly payments willbe in the amount of U.S. ° 1,830.63. . This
amount may change.

(C) Monthly Payment Changes.

Changes in my monthly payment will reflect changes in the unpaid principal of my oan and in the
interest rate that I must pay. The Note Holder, will determine my new interest rate and the changed
scvount. of my monthly payment i accordance wih Secon 4 ofthis Note

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: if Tam a nonresident alien, uderstind HS all payments due hereunder stall be paid without
reduction for any taxes, deductions or withholding of any nature. Tf such tax, deduction or withholding
'-és Tequired by any law to be made from any payment to the Note Holder, T shall ‘continue to pay this
Note in accordance with the terms hereof, such ch ‘thatthe Note ‘Holder will ‘receive such amount as it
would have received had no such tax, déshiction or

| INTEREST RATE AND MONTHLY PAYMENT CHANGES
ay Change Dates ce - See
‘The interest rate T will pay 1 inay shige on th i: le 8006:

and on the same day of every’ th thereafte ‘Ba date oni which my interest rate could change is
called an “Interest Rate Change Date

~ (B) The Index

. | Begining with the frst Interest Rate Change Date, to interest rate ‘wil be based on an Index
plus a margin. The "Index" is the average of interbank offeted rates for ‘six-month dollar deposits in the
London market ("LIBOR"), as published in "The: Wall Street Journal "Money: “Rates” Table. : The most
recent Index figure available as ‘of the first business day of the month immediately preceding the month
in which the Change Date occurs is called the "Current Index.” .

Tf the Index é is no longer available, the Note Holder will choose a new index that is based upon
comparable information. The Note Holder will give me notice of this choice. .

(C) Calculation of Changes ‘

At each Interest Rate Change Date, the Note Holder will calolate iy new interest rate by
adding “Five and Fifty-Five Hundredths.- percentage points(. 5. 5500 %)
to the Current Index. The Note Holder will then round this figure to the nearest one-eighth of one .
* percentage point (0.125%). Subject to the limit stated in Section 4(D) below, this rounded amount will
be my new interest rate until the next Interest Rate Change Date.

(i) Interest-Only Period. The “Interest-only Period”. is the period from the date of this

Note through October 1, 2006 ~ , For the Interest-only Period, the Note

Holder will calculate the amount of the monthly payment to be one-twelfth (1/12th) of one (1)
year’s interest 6.5000 '-%, The result of this calculation will be the amount of my

rnontly payment until he next Interest Rate Change Date

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(i) Amortization Period. ‘The "Amortization Period” is the period after the Interest-only
Period and continuing until the Maturity"Date. During the Amortization Period, after
calculating my new ‘interest rate as provided: in Section 4(C) above, the Note Holder will then
calculate the amount of. the monthly payment that would be sufficient to fully repay the
Temaining unpaid principal in equal ‘raonthly payments by the Maturity Date, assuming, for
Purposes of each calculatiorg, tha the interest rate remained unchanged during that period.
_ The result of this caleulatiott Wil Rewamount of my monthly payment. -

t

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(D) Limit on Interest Rate Changes

pay at the first Change Date will not be greater than
‘Thereafter, my interest rate will never be increased or

(©) Effective Date of Changes

My new interest rate will become effective on each'Interest Rate Change Date. ¥ will pay the

amount of my new monthly payment beginning .on the. first monthly payment date after the Interest Rate
Change Date until the amount of my monthly payment changes again , oO

(F) Notice of Changes

The Note Holder will deliver or mail to me a notice of any changes in my interest rate and the
amount of my monthly payment at least 25 days before the effective date of any change. The notice will
include information required by law to be given to me and also the title and telephone number of a person
who will answer any questions I may have tegarding the notice,

5. BORROWER’S RIGHT TO PREPAY

Thave the right to make payments of principal at any time before they are due. A payment of
Principal only is known as a "prepayment." When I make a prepayment, T will tell the Note Holder in
writing that I am doing so. . : .

in the due dates of my monthly payments unless the
Note Holder agrees in writing to those changes. My-partial prepayment may Teduce the amount of my
monthly payments after the first Change Date following. my partial prepayment. However, any reduction
due to my partial prepayment may be offset by i inter > increase, we : .

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6. LOAN CHARGES.. 3},

make a partial prepayment, there will De:no changes’ in

be poe %
If a law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the
interest or other loan charges collected or to be collected in connection with this loan exceed the permitted
limits, then: (#) any such loan charge shall be reduced by the amount necessary to reduce the charge to the
permitted limit; and (ii) any sums already cpllected: from me which exceeded permitted limits will be
Tefunded to me. The, Note Holder may, choose. to make this refund by reducing the principal T owe under

this Note or by making.a direct paymeni lf aphid reduces principal, the reduction will be treated

as a partial prepayment: :

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7, BORROWER’S FAILURE rowayas REQUIRED.

(A) Late e Charges for Overs ’

If the Note Holder has not feceved the full pot of any mionthly paymet by the end of 15
calendar days after the date it is due, T will pay a late charge to the'Note Holder. The amount of the
charge willbe 2.00 % or $5.00, whichever is grester of hy overdue monthly payment. T will pay
this late charge promptly but only once on each late payment. °

(B) s~dDefault

Hf Tdo not pay the full amount of each monthly payment on the date it is due, I will be in default.

(C) Notice of Default

. ~ Te am in defi the Note Hilder may send me a writen notice telling me that if Tido not pay the

Overdue amount by a certain date, the Note Holder may Tequire me to pay immediately the full amount of
principal which has not been paid and all the interest that owe on that amount. That date must be at least
30 days after the date-on which the notice is delivered oy mailed to me.

*@) No Waiver by Note Holder , oa

" Byen if, at a time when I am in'default, the'Note Holder does not require me to pay immediately in
full as described above, the Note Hiolder will still have:the right to do so if T am in default ata later time,

(E) Payment of Note Holder’s Costs and Bapenies

- Uf the Note Holder has requi‘ed ine to pay inmmediaiely in full as described above, the Note Holder
wil ave the right to be paid tack by pe fr al of sods and expenses in enforcing this Note tothe
extent not prohibited by applicable law. ‘Those expenses ‘include, for example, reasonable attorneys’
fees.

8. GIVING OF NOTICES

ness applicable law requires = ifeet method, any notice that mst be givin to me under this
Note will be given by delivering it or by mailing i by first class mail to me at the Property Address above
: or at.a different address if T give the Note Holder, a notigejof may different address. .

“Unless the Note Holder requires'a di ent inetd, an y toe tat tbe gives othe Not
Holder under this Note wl be given by ating by ERSE bat wilt the Note Holder a the addres
sated in Section (A) above rat a different ales if Tam given’ neti of hat different adress

9. OBLIGATIONS OF PERSONS UNDER ‘ras NOTE ©

If more than one person signs this Not, sch pon fly personally obligate to ep all of
the promises made in this Note, inchiding the promiise'to ‘pa y the full amount owed. Any person who is a
guarantor, surety or endorser of this Note is also obligated to do these things. ‘Any person who takes over
_ these obligations, including the obligations of a guarantor; surety or endorser of this Note, is also

‘obligated to keep all of the promises made in this Note: The Note Holder may enforce its rights under
~ this Note against each person individually or against all of us together. This means that any one of us may
be required to pay all of the amount owed under this Note.

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10. WAIVERS,
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T and any other person who has obligations ‘under | lote-walve the rights of presentment and notice
of dishonor, and further waive all relief under any valuation and appraisement laws. "Presentment"
means the right to require the Note Holder to demand pa t of-amounts due, "Notice of dishonor”
Taeans the right to require the Note Holder to give notice to other persons that amounts due have not been

11. GOVERNING LAW -SECURED NOTE
This Note is governed by federal law and the law of the jurisdiction in which the property encumbered by
the Security Instrument (as defined below) is located.’ In addition to the protections given to the Note
Holder under this Note, a Mortgage, Deed of Trust or Security Deed (the "Security Instrument”), dated
the same date as this Note protects the Note Holder from possible losses which might result if I do not
keep the promises which T make in the Note. ‘That Security Instrument describes how and under what
Conditions T may be required to make immediate payment in full of all amounts T owe under this Note.
Some of those conditions are described as follows: ’ :

: er of the Property or a Beneficial Interest in Borrower. Tf all or any part of the Property

Instrument,

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall
provide a period of not Jess than 30 days from the daleithe notice is delivered or mailed within which
Borrower must pay all sums secured by this Security Instrument. Hf Borrower fails to pay these sums
Prior to the expiration of this period, Lender may invoke any remedies permitted by this Security

IT Is IMPORTANT THAT.YOU THOROUGHLY READ THIS NOTE BEFORE YOU SIGNIT.

jor 010404

% ONME
LOURDES MINIER : - Borrower
+ Borrower
+ Borrower . - Borrower
- Borrower - Borrower
(Sign Original Only) root:
‘ . 0001870348
NCMG , ton :

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Return To:
NEW CENTURY NORTGAGE CORPORATION

18400 VON KARMAN, SUITE 1008 -
IRVINE, CA 92612

By: .
NEW CENTURY MORTGAGE CORPORATION

[Space Above Tih Line For Recording Data}

MORTGAGE

‘ Ra

WORDS USED OFTEN IN TRIS DOCUMENT :

(A) "Security Instrument.” This document, which is dated Saptember 24, 2004 .
‘together with all Riders to this document, will be called the "Security Instrument.”

(B) "Borrower."

LOURDES MINIER

whose address is 152 BEECH STREET YONKERS, NEW YORK 10704 ,
‘ metimes will be called "Borrower" and sometimes simply "I" or "me."
(C) "Lender." .NEW CENTURY MORTGAGE! ‘CORP TION

will be called “Lender.” Lender ig a corparatio association which exists under the laws of
CALIFORNIA . Lender’s address is 18400 VON KARMAN, SUITE
1000 IRVINE, CA 92612

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NEW YORK - Single Familiy - Fannie Mae/ RM INSTRUMENT Form 3038 1/01

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VMP MORTGAGE FOAMS - (800)621-7291

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(D) "Note." The note signed by Borrower and dated September 24, 2004 , will be called

the "Note." The Note shows that I owe Lender Three Hundred. One Thousand, Forty and
No/100 emennen:
Dollars (U.S. $ 301,045.00 : } plus imterest

and other amounts that may be payable. I have promised to pay this debt in Periodic Payments and to pay the
debtin fullby October 1, 2034 —. . : / .
() “Property.” The propezty that is described below in the section titled "Description of the Property,” will
be called the "Property." > vo oo . , i
(F) “Loan.” The “Loan” means the debt evidenced by: the Note, plus interest, any prepayment charges and . ‘
late charges due under the Note, and all sums dug-andexthig Security Instrument, plus interest. fF
_ (G) "Sums Secured." The amounts described below tn the section titled “Borrower's Transfer to Lender of
Rights in the Property” sometimes will be called the "Sums-Secured.”
(H) “Riders.” All Riders attached to this Security Instrument that are signed by Borrower will be called
Cita The following Riders a to be signed by Borrower [check ox as applicable]:
Adjustable Rate Rider — Condominium Rider Sart 5 Second Home Rider
Balloon Rider {_| Planned Unit Development Rider [_M 1-4 Family Rider
(_] VA Rider [1] Biweekly Payment Rider” (_] other(s) [specify].

(@ "Applicable Law." All controlling applicable federal, state and local statutes, regulations, ordinances and
administrative rules and orders (that have.the effect of jaw) as well as all applicable final, non-appealable,
"judicial opinions will be calléd “Applicable Law." mo
(J) "Community Association Dues, Fees, ard: 5

ees : fs." All dues, fees, assessments and other charges
that are imposed on Borrower ar’ the Property by a’¢ondomininin association, homeowners association or
similar organization will be called "Community 7 iation Dues, Fees, and Assessments.”
(K) "Electronic Fonds Transfer.” "Blectronic:Funds ‘Tratisfex” means any transfer of money, other than by
check, draft, or similar paper instrument, which is jnitiated thfough an electronic terminal, telephonic
instrument, computer, or magnetic tape so as to, order, instruct, or authorize a financial institution to debit or
credit an account. Some common examples of ‘an Electronic Funds Transfer are point-of-sale transfers (where
acard such as an asset or debit card is used at a merchant), automated teller machine (or ATM) transactions,
transfers initiated by telephone, wire transfers, and automated clearinghouse transfers.
(L) "Escrow Items." Those items that are described in Section 3 will be called “Escrow Items.”
(M) "Miscellaneous Proceeds.” "Miscellaneous Proceeds" means any compensation, settlement, award of
damages, or proceeds paid by any third party (other than Insurance Proceeds, as defined in, and paid under
the coverage described in Section 5) for: (i) damage to, or destruction of, the Property; (ii) Condemnation or
other taking of all or any part of the Property; (iii) conveyance in Jieu of Condemnation or sale to avoid
Condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or condition of the Property. A
taking of the Property by any governmental authority by. eminent domain is known as "Condemnation."
€%) "Mortgage Insurance." "Mortgage Insurance" micans insurance protecting Lender against the
nonpayment of, or default on, the Loan. wool .
(O) "Periodic Payment.” The regularly scheduled ampunt due for (i) principal and interest under the Note,
and (ii) any amounts under Section 3 will be called "Periodic Payment.”
(P) "RESPA.” "RESPA" means the Real Estate, Settlement Procedures Act (12. U.S.C. Section 2601 et seq.)
and its implementing regulation, Regulation X (4 CER. Part 3500), as they might ‘be amended from time to
time, or any additional or successor legislation or regulation that governs the same subject matter. As used in
this Security Instrument, "RESPA" refers to all requirements and restrictions that are imposed in regard to a
"federally related mortgage loan” even if: the Loan dges not qualify as a “federally related mortgage loan"

under RESPA. .
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‘BORROWER’S TRANSFER TO LENDER OF RIGHTS IN THE PROPERTY
I mortgage, grant and convey the Property to Lender subject to the tezms of this Security Instrument.

This means that, by signing this Security Instryment, I am giving Lender those rights that are

mortgages on real property. I am giving Lender. these rights to protect Lender from possible losses that might

result if T fail to: . ,

(A) Pay afl the amounts that I owe Lender as Stated in the Note including, but not limited to, all renewals,

extensions and modifications of the Note; zr

(B) Pay, with interest, any amounts that Lender spend}-uxider this Security Instrument to protect the value of

the Property and Lender's rights in the Property; and o ‘ .

(C) Keep all of my other promises and agreements under this Security Instrument and the Note.

DESCRIPTION OF THE PROPERTY, —.. so
1 give Lender rights in the Property described through (G) below:
(A) The Property which is located at 152 BEECH STREET :
: [Street]
YONKERS - City, Town or Village) , New York 10701. {Zip Code].
This Property isin WESTCHESTER County. It has the following legal
description: : ~

SEE LEGAL DESCRIPTION ATTACHED HERETO AND MADE A PART HEREOF.

a

(B) All buildings and other improvenients that are located on the Property described in subsection (A) of this
section; : :

{C) Ail rights in other property that I have as owner of the Property described in subsection (A) of this
section, These rights are known.as "easements and appurtenances attached to the Property;” /
(D) All rights that I have in the land which lies in the streets or roads in front of, or next to, the Property
described in subsection (A) of this section; : ,
(©) All fixtures that are now or in the future will, be on the Property described in subsections (A) and (B) of
this section; ‘ ° :

(F) All of the rights and property described in subsections (B) through (&) of this section that I acquire in the
future; and . . not .

(G) All replacements of or additions tp the Property. flescribed in. subsections (B) through (F) of this section
and ail Insurance Proceeds for loss or damage to, and all Miscellaneous Proceeds of the Property described in

subsections (A) through ® of this section, _.,, -
, 0001 870348
Type Inittale: * -

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BORROWER’S RIGHT TO MORTGAGE THE PROPERTY AND BORROWER’S OBLIGATION
TO DEFEND OWNERSHIP OF THE PROPERTY. .

I promise that: (A) I Jawfully own the Property; (B) I have the right to mortgage, grant and convey the
Property to Lender; and (C) there are no outstanding claims or charges against the Propesty, except for those
which are of public record. . - . . .

I give a general warranty of fille to Lender-This means that I will be fully responsible for any losses
which Lender suffers because someone other than myself has some of the tights in the Property which I
promise that I have. I promise that I will defend my ownership of the Property against any claims of such
rights. . . : Bs . .

4 al

PLAIN LANGUAGE SECURITY INSTRUMENT". o oO / .

This Security Instrument contains promises and ‘agreements that are used in real property security ©
instruments all over the country. It also contains other iftoinises and agreements that vary in different parts of
the country. My promises and agreement are stated in."plab language.” oo

a

COVENANTS r
I promise and I agree with Lender as follows: / oS oo
1. Borrower’s Promise to Pay. I will pay to Lender-on time principal and interest due under the Note
- and any prepayment, late charges and other amounts ‘due under. the Note. I will also pay all amounts for
Escrow Items under Section 3 of this Security Instrument me,
Payments due under the Note and thi§ Sécurity Instryment shall be made in US. currency. If any of my
payments by check of other: payment istrument isiftaimed ‘tc Lender unpaid, Lender may require my
- payment be made by: (a) cash, (byFmoney! Z

aS) ciialiiad clieck-bank check, measures’s check or cashier’s
check, drawn upon an ‘institution: whose depositvare instired bya féderal agency, instrumentality, or entity; or
(d) Hlectronic Funds Transfer. - PO oo.

“Payments are deemed recéived by Lender ‘when reaéived at-the location required in the Note, or at
another location designated by Lender under Section 15 of this Security Instrument. Lender may return or
accept any payment or partial payment if it is for-an qmount that is less than the amount that is then due. If
Lender accepts a lesser payment, Lender may yefuse txBecept a lesser payment that I may make in the future
and does not waive any of its rights. Lender is not obligated to apply such lesser payments when it accepts
such payments. If interest on principal accrues as if all Periodic Payments had been paid when due, then
Lender need not pay interest on unapp’ ied funds, Lender may hold such unapplied funds until I make
payments to bring the Loan current. If I do not do so within a reasonable period of time, Lender will either
apply such funds or return them to me. In the event of foreclosure, any unapplicd funds will be applied to the
outstanding principal balance immediately prior to foreclosure. No offset or claim which I might have now or
in the future against Lender will relieve me from making payments due under the Note and this Security
Instrument or keeping all of my other promises and agreements secured by this Security Instrument.

-2. Application of Borrower’s Payments and Insurance Proceeds. Unless Applicable Law or this
Section 2 requires otherwise, Lender will apply. each ‘of my payments that Lender accepts in the following
order: . : ,

First, to pay interest due under the Note; _ , .

Next, to pay principal due under the Note; ad .

Next, to pay the amounts due Lender under Section 3 of this Security Instrument

Such payments will be applied to each Periodic Payment in the order in which it became due.

Any remaining amounts will be applied as follows; | > / .

First, to pay any Jate charges; wee
Next, to pay any other amounts due under this Securit Anstrument, and
"Next, to reduce the principal balance ofthe Note... oe

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, initlals:. .

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If Lender receives a payment from me fot a late Periodic Payinent which includes a sufficient amount to
Pay any late charge due, the payment may be applied t0’the late Periodic Payment and the late charge. If more
than one Periodic Payment is due; Lender may apply ahy payment received from me: First, to the Tepayment
of the Periodic Payments that are due if, and to the extent that, each payment can be paid in full; Next, to the
extent that any excess exists after the Payment is applied to the full payment of one or more Periodic
Payments, such excess may be applied to any late charges due,

Voluntary prepayments will be applied as follows: Fist, to any prepayment charges; and Next, as
described in the Note. .

Any application of payments, Insurance Proceeds, or Miscellaneous Proceeds to principal due under the
Note will not extend or postpone the due date’ of the Periodic Payments or change the amount of those
Payments. a :

3. Monthly Payments For Taxes And Insurance.

(a) Borrower’s Obligations. “ 2

1 will pay to Lender all amounts Decessary to pay for taxes, assessments, water charges, sewer rents and
other similar charges, ground leasehold Paymenjs or rents (if any), hazard or property insurance covering the
Property, flood insurance (if any), and any required Morigage Insurance, or a Loss Reserve as described in
Section 10 in the place of Mortgage Insurance. Each Periodic Payment will include an amount to be applied
toward payment of the following items which art called "Escrow Items:”
(1) The taxes, assessments, water charges, sewer rents.4ad other similar.charges, on the Property which under
Applicable Law may be superior to this Secutity-Institiielit as‘a Lien on the Property. Any claim, demand or
charge that is made against property because an‘obligation has not been fulfilled is known as a "Lien;”

(2} The leasehold payments or ground rents on the Property (if any);

3) The premium for any and all insurance required by‘Lerider under Section 5 of this Security Instrument;
(4) The premium for Mortgage Insurance (if any), 43 Bots

(5) The amount I may be required toipayLendds unllige; Section 10 of this Security Instrament instead of the
payment of the premium for Mortgage Insuraiies (if affy}; ind’ *. ° :
(6) If required by Lender, the amount for any Community Association Dues, Fees, and Assessments,

After signing the Note, or at any time during its term, Lender may include these amounts as Escrow
items. The monthly payment I will make far Escrow Items will be based on Lender’s estimate of the annual

amount required. .
I will pay all of these amounts to Lender-un ender tells:me, in writing, that I do not have to do $0,
or unless Applicable Law requires otherwise. Twill maké these Payments on the same day that my Periodic

ve

The amounts that I pay to Lender for Itehis ‘thndé this Section 3 will be called "Escrow Funds,"

I will pay Lender the Escrow Funds for Escrow Items unléss Lender waives my obligation to pay the Escrow
Funds for any or all Escrow Items. Lender may ‘waive my: obligation to pay to Lender Escrow Funds for any
or all Escrow Items at any time. Any such waiver musi:be in writing. In the event of such waiver, I will pay
directly, when and where payable, the amounts due-for.any Escrow Items for which payment of Escrow
Funds has been waived by Lender and, if Lender requires, will promptly send to Lender receipts showing
such payment within such time period as Lender may-require. My obligation to make such payments and to
Provide receipts will be considered to be a promise and agreement contained in this Security Instrument, as
the phrase "promises and agreements” is used in: Section 9 of this Security Instrument. If I am obligated to
pay Escrow Items directly, pursuant to a waiver, and [fail to pay the amount due for an Escrow Item, Lender
may pay that amount and I will then be obligated under Section 9 of this Sécurity Instrument to repay to
Lender, Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in
accordance with Section 15 of this Security Instrument and, upon the revocation, I will pay to Lender all
Escrow Funds, and in amounts, that are then Teqnired under this Section 3.

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of Escrow Item amounts to be paid.
I will have to pay by using existing _
Of the amount I will have to pay for Escrow Items in the

Lender may, at any time, collect and hold Hscrow Funds in an amount sufficient to permit Lender to
apply the Escrow Funds at the time specified under RESPA. Applicable Law puts limits on the total amount
of Escrow Funds Lender can at any time collect and hold. This total amount cannot be more than the
maximum amount a lender could require under RESPA. If there is another Applicable Law that imposes a
Jower limit on the total amount of Escrow Funds Lender can collect and hold, Lender will be limited to the
Jower amount. RO

(b) Lender’s Obligations. : root ‘ : ‘

Lender will keep the Escrow Funds in a savings or banking institution which has its deposits insured by
a federal agency, instrumentality, or entity, or in any Federal Home Loan Bank. If Lender is such a savings or
banking institution, Lender may hold the Escrow Funds; Lender will use the Escrow Funds to pay the Escrow
Items no later than the time allowed under RESPA or other Applicable Law. Lender will give to me, without
charge, an annual accounting of the Escrow Funds, That accounting will show all additions to and deductions
from the Escrow Funds and the reason for cach deduction. .

Lender may not charge me for hiolding or keeping the Escrow Funds, for using the Escrow Funds to pay
Escrow Items, for making a yearly analysis of my payment of Escrow Funds or for receiving, or for verifying
and totaling assessments and bills. However, Lender jfiay-charge me for these services if Lender pays me
interest on the Escrow Funds and if Applicable Law permits Lender to make such a charge. Lender ‘will not
be required to pay me any interest or earnings on the-Esctow Funds unless either (1) Lender and I agree in
writing that Lender will pay interest on the Escrow Funds, or (2) Applicable Law requires Lender to pay
interest on the Escrow Funds. -.- + ga. . / . 7

(c) Adjustments to the Eserow Funds Say! ON

Under Applicable Law, there is a limit on‘die amountof Escrow Funds Lender may hold. If the amount
of Escrow Funds held by Lender exceeds this li it; then there will be an excess amount and RESPA requires
Lender to account to me in a special manner for the excess amount of Escrow Funds. /

If, at any time, Lender has not received enough Escrow Funds to make the payments of Escrow Items
when the payments are due, Lender may tell me in writing that an additional arnount is necessary. I will pay
to Lender whatever additional amount is necessary to pay the Escrow Items when the payments are due, but
the number of payments: will not be more than 12.. a0. :

When I have paid ail of the. Sumg.
are then being held by Lender... = SO

4. Borrower’s Obligation to Pay Charges, Assessments and Claims. I will pay all taxes, assessments, —
water charges, sewer rents and other similar charges, and any other charges and fines that may be imposed on
the Property and that may be superior to this Security Instrument. | will also make ground rents or payments -
due under my lease if I am a tenant on- thé»Property and Community. Association Dues, Fees, and
Assessnients (if any) due on the Property. If these items are Escrow Items, I will do this by making the
payments as described in Section 3 of this Security Instrument. In this Security Instrument, the word "Person"
means any individual, organization, governmental authority or other party. /

Y will promptly pay or satisfy all Liens against. the Property that may be superior to this Security
Instrument. However, this Security Instrument does not require me to satisfy a superior Lien if: (a) I agree, in
writing, to pay the obligation which gave rise to the superior Lien and Lender approves the way in which I
agres to pay that obligation, but only so long as J am performing such agreement, (b) in good faith, I argue or
defend against the superior Lien in a Jawsuit so that in Lender's opinion, during the lawsuit, the superior Lien
may not be enforced, but only until the lawsuit ends; ‘or (c) I secure from the holder of that other Lien an
agreement, approved in writing by Lender, that the Ljen of this Security Instrument is superior to the Lien

iplly refund to me any Escrow Funds that

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held by that Person, If Lender determines that. any part of , the, Property is’ subject to a superior Lien, Lender
may give Borrower a notice identifying the Supérior Jie:
given, Borrower shall Pay or satisfy the supezior Liew or

Section 4.

jen. Within. 10 days of the date on which the notice is
take one or more of the actions mentioned in this

harge for an independent real estate tax reporting service

Lender also May require me to pay a one-time c
used by Lender in connection with the Loan, unless

charge.

‘coverage, including, but not limited to earth

Applicable Law does not permit Lender to make such a

(including, but not limited to, deductible levels) and for
Tequires under the last sentence can change during.

company, but my choice is subject to Lender’.

unless the disapproval is reasonable. Lender may require me to pay either (a) a one-time charge for flood
Zone detexmination, certification and tracking Services, or (b) a one-time charge for flood zone determination

If I fail to maintain any of the insurance.-co:

coverage, at Lender’s option an

or amount of coverage.; Therefore, such toyerapd
equity in the Property, or the contents of

All of the, insurance policies and-fen
Mortgage Clause” to protect Lenitler and iwil
The form of alt policies and retiewalk will he

Policies and renewal certificates; If Lender requires, I

and renewal notices that I receive,

If I obtain any form of insurance coverage, nic
destruction of, the Property, such policy will include;a
mortgagee and/or as an additional loss payee, *“*

If there is a loss or damage to the Property

@ required by Lender, for damage to, or
Mortgage Clause and will namie Lender as

1 will promptly notify the insurance company and Lender. If

Ido not promptly prove to the insurance company thaf the loss or damage occurred, then Lender may do so.
The amount paid by the insurance company fot loss or damage to the Property is called "Insurance
Proceeds.” Unless Lender and I otherwise agree in writing, any Insurance Proceeds, whether or not the
underlying insurance was required by Lender, will be used
unless: (a) it is not economically feasible to make the
Proceeds for that Purpose would lessen the Protection

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to repair or to restore the damaged Property
Tepairs or restoration; (b) the use of the Insurance
Biven to Lender by this Security Instrument; or (c)

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Lender and I have agreed in writing not to use tie Insurance Proceeds for that purpose. During the period that
any repairs or restorations are being made, Ledider fhgy‘hold any Insurance Proceeds until it has had an
opportunity to inspect the Property to verify that the repair work has been completed to Lender’s satisfaction.
However, this inspection will be done promptly. Lender may make payments for the repairs and restorations

ina single payment or in a series of progress payments, as the work is completed. Unless Lender and J agree

otherwise in writing or unless Applicable Law requires otherwise, Lender is not required to pay me any
interest or earnings on the Insurance Proceeds. I will pay for any public adjusters or other third parties that I
hire, and their fees will not be paid out of the Insurance Proceeds. If the repair or restoration is not
economically feasible or if it would lessen Lender’s protection under this Security Instrument, then the
Insurance Proceeds will be used to reduce the amount that I owe to Lender under this Security Instrument.
Such Insurance Proceeds will be applied in the ‘order provided for in Section 2. If any of the Insurance
Proceeds remain after the amount that I owe to Lehder has been paid in full, the remaining Insurance
Proceeds will be paid to me. / ot
, If 1 abandon the Property, Lender may file, negotiate and settle any available insurance claim and related
matters. If I do not answer, within 30 days,'a notice from Lender stating that the insurance company has
- offered to settle a claim, Lender may negotiate and settle the claim. The 30-day pexiod will begin when the
notice is given. In either event, or if Lendér acquires the Property under Section 22 of this Security
- Instrument or otherwise, I give Lender my rights to any Insurance Proceeds in an amount not greater than the
~~ amounts unpaid under the Note and this Security Instrument. I also give Lender any other of my rights (other
than the right to any refund of uneamed preminms ghat J paid) under all insurance policies covering the
Property, if the rights are applicable to the coverage of ihé Property. Lender may use the Insurance Proceeds
either to repair or restore the Property or to pay amounts unpaid under the Note or this Security Instrument,
‘whether or not then due. coe nF .
__6, Borrower's Obligations to Occupy The Property: I will occupy the Property and use the Property
as my principal residence within 60 dayscafter écurjty Instrument. I will continue to occupy the
Property and to use the Property‘as my principal residence for at.least one year. ‘The one-year period will
begin when I first occupy the Property. However, I will not have to occupy the Property and use the Property
as my principal residence within the time frames set forth above if Lender agrees in writing that I do not have
to do so. Lender may not refuse to agree unless the refusal is reasonable. I also will not have to occupy the
Property and use the Property as my principal residence within the time frames set forth above if extenuating
circumstances exist which are beyond my.coniroh. = :

7, Borrower’s ‘Obligation’: to Maintain And:
Obligations, °°) MEAS Be

- (a) Maintenance and Protection Fine Br erty yt uo ‘

-] will ‘not destroy, damage or hatin the”Property, and I-will not allow the Property to deteriorate.
Whether or not I am residing in the Property,"E will kegp the Froperty in good repair so that it will not
deteriorate or decrease in value due to its condition. Unless it is détermined under Section 5 of this Security
Instrument that repair.is not economically. feasible, I. yill-promptly repair the Property if damaged to avoid

further deterioration or damage. If insurance of Condemnation Yas defined in the definition of Miscellaneous
Proceeds) proceeds are paid because of loss or damage.to, or Condemnation of, the Property, I will repair or
restore the Property only if Lender has released those proceeds for such purposes. Lender may pay for the
repairs and restoration out of proceeds in a single payment or in a series of progress payments as the work is
completed. If the insurance or Condemnation proceeds are not sufficient to repair or restore the Property, I
promise to pay for the completion of such repair ar restoration.

. (b) Lender's Inspection of Property.

Lender, and others authorized by Lender, may enter.on and inspect the Property: They will do so ina
reasonable manner and at reasonable times. If it has a reasonable purpose, Lender may inspect the inside of
the home or other improvements on the Property. Before or at the time an inspection is made, Lender will
give me notice stating a reasonable purpose for such inieridt inspection. a

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tect; The Property And to Fulfill Any Lease

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8. Borrower’s Loan Application. If, during
entity acting at my direction or with my kno
Statements to Lender about information importan!

of a false, misleading; or 1a
9. Lender’s Right ‘to-

significantly affect Lender's interest in the Property or
Proceeding in bankruptcy, in probate, for Condemnation or
Which could give a Person righis which could ‘¢gual ar exceed’
Security Instrument, proceedingsfor enforcement of a

pay for whatever is teasonable of appropriate to protect Lender’s interest in the Property and Lender's rights
under this Security Instrument.: #52! >. ‘ ,

Lender’s actions may include, but are not limited to: (a) protecting and/or assessing the value of the
Property; (b) securing and/or repairing the Property; (c) paying sums: to eliminate

pay those amounts with interest. - . y
IE 1 do not own, but am a tenant oni the Property:
agree that, if ] acquire the full title (sometimes called
Fee Title will not mezge unless Lender agrees to the merger in writing.
10. Mortgage Insurance, If Lender requir Mortgage Insurance as a condition of making the Loan, I

ceases to be available from the mortgage itsutey that usly: provided such insurance and Lender required
me to make separate payments toward the prémiums for‘Mortgage Insurance, I will pay the premiums for
substantially equivalent Mortgage Insurance coverage from an alternate mortgage insurer. However, the cost
of this Mortgage Insurance coverage will be substan
Mortgage Insurance coverage, and the alternate mortgage insurer will be selected by Lender.

If substantially equivalent, Mortgage: Insurance:
non-refundable “Loss Reserve" as a subsite
Lender each month an amount eijpal toby
the coverage lapsed or ceased obine iB
to pay for losses that the Mortgage Insurance wild

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coverage again becomes available through an insurer selected by Lender; (b) such Mortgage Insurance is

obtained; (c) Lender requires separately designated payments toward the premiums for Mortgage Insurance;
and (d) the Mortgage Insurance coverage is in the amount-and for the period of time required by Lender.

If Lender required Mortgage Insurance as a.condition bf making the Loan and Borrower was required to

i amjunis for Mértgage Insurance, I will pay the Mortgage Insurance

mepit for Morigage Insurance ends according to

Be ser ‘termination or until termination of

policy. — cre? Gok .

Mortgage insurers assess their total ‘risk on all Mortgage insurance from time to time. Mortgage

insurers may enter into agreements with other parties to share ar change their risk, or to reduce losses. These

agreements are based on terms and conditions that are satisfactory to the mortgage insurer and the other party

(or parties) to these agreements. ‘These agreements may-require the mortgage insurer to make payments using

any source of funds that the mortgage insurer may have available (which may include Mortgage Insurance

premiums)... on

As a result of these agreements, Lender, any owner of the Note, another insurer, any reinsurer, or any
other entity may receive (directly or indirectly) amounts that come from a portion of Borrower's payments for
Mortgage Insurance, in exchange for sharing or-changing the mortgage insurer’s risk, or reducing losses. If -
these agreements provide that an affiliate of Lender takes d share of the insurer's risk in exchange for a share

- of the’ premiums paid to the insurer, the arrangement is.ofttn termed "captive reinsurance.” It also should be
understood that: (a) any of these agreements will not affect the amounts that Borrower has agreed to pay for
Mortgage Insurance, or any other terms of the Loan. These agreements will not increase the amount Borrower
will owe for Mortgage Insurance, and they will not éntitle Borrower to any refund; and (b) any of these
agreements will not affect the rights Borrower-has - if any - regarding the Mortgage Insurance under the

certain disclosures, (b) to request and obtain cancellation of the Mortgage Insurance, (c) to have the Mortgage
Insurance terminated automatically, and/or (d) 19. receive d refund of any Mortgage Insurance premiums that
were not eamed at the time of such cancellation or termination. Lo .

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value of the Property immediatel partial taking; degim¢tion, or loss in value is equal to or greater
than the amount of the Sums Before’ the partial taking, destruction, or loss in

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value, the Sums Secured will be reduced by the amount of the Miscellaneous Proceeds multiplied by the
following fraction: (a) the total amount of the Sums Secured immediately before the partial taking,
destruction, or loss in value divided by (b) the fair market value of the Property immediately before the partial
taking, destruction, or loss in value. Any balance shall be paid to me,
In the event of a partial taking, destruction, or Joss"in value of the Property in which the fair market
iat ‘taking, destruction, or loss in value is less than the

Miscellaneous Proceeds will be applieff i64 whether or Hot the sums are then. due,
If I abandon the Property, sends me notice’ that the Opposing Party: (as defined in the
hext sentence) offered to make for damages, I fail to respond to’ Lender within 30
days after the date Lender gi ed to-collect and apply the Miscellaneous Proceeds
cither to restoration or repair of the i¢ Sums Secured, whether or not then duc. “Opposin,
Party” means the third party that i Proceeds br the party against whom I have aright of
et T

action in regard to Miscellaneous Proceeds, “24° ‘i? 1 ,

I will be in default under this Security Instrument if any civil or criminal action or proceeding that
Lender determines could result in a court ruling (a) that would require Forfeiture of the Property, or (b) that
could damage Lender’s interest in the Property or rights under this Security Instrument.-"Forfeiture” is a court

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property will be applied in
the order provided for in Section 2. , oot : .
12, Continuation of Borrower’s Obligations And of Lender’s Rights.

(a) Borrower's Obligations. ae - ,

Lender may allow me, or a Person who takes over my rights and obligations, to delay or to change the
amount of the Periodic Payments. Bven if Lender does this, however, I will still be fully obligated under the
Note and under this Security Instrument unless Lender agrees to release me, in writing, from my obligations.

- Lender may allow those delays or changes for me‘or a Person who takes over my rights and obligations,
even if Lender is requested not to do so. Even if Lends is requested to do so, Lender will not be required to
(1) bring a lawsuit against me or such a Person for noi fulfilling obligations under the Note or under this
Security Instrument, or (2) refuse to extend time-for Payment or otherwise modify amortization of the Sums

(b) Lender’s Rights. . - eS : : ‘

Even if Lender does not exercise or'enforc! ‘any sight-of Lender under this Security Instrument or under
Applicable Law, Lender will still have all of those tight§“and ‘may exercise and enforce them in the future.
Bven if: (1) Lender obtains insurance, Pays taxes, or pays other claims, charges or Liens against the Property;
(2) Lender accepts payments from third Persons; or (3) Lender accepts payments in amounts less than the
amount then due, Lender will have the right under Section 22 below to demand that I make Immediate
Payment in Full of any amounts remaining due, and payable to Lender under the Note and under this Security
Instrument. © nly . “4 7 * ‘

13. Obligations, of Borrower aie Pets

Yer Borrower’s Rights or Obligations. If
wer, ach of us is fully obligated to keep alll of
4 instrament. ‘Lender may enforce Lender's

idually or against all of us together, This means

the Sums Secured; and (c) that Perso agrees that Len
‘ *

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delay enforcing any of Lender's fights,
this Security Instrument or the Note with

Subject to the provisions of Section ho takes over my rights
or obligations under this Security Instrument in writing, will have all of
my rights and will be obligated tb keep all,of my promises and ag ade in this Security Instrument.
Borrower will not be-released :from Bearowers “obigations Yiabilities under this Security Instrument

unless Lender agrees 0: Such ‘re 3 on. pho} t
under this Security Instrument-will haye’au § ite Heehts and will be obligated to keep all of Lender’s
promises and agreements made {ii this Security ent

14, Loan Charges, Lender may charge me fees for services performed in connection with my default,
for the purpose of protecting Lender’s interest sh the Property. apd rights under this Security Instrument, -
including, but not limited to, attorneys’ fees, property inispection ‘and valuation fees. With regard to other fees,
the fact that this Security Instrument does not expressly.indicate tha} Lender may charge a certain fee does not
mean that Lender cannot charge that fee. Lender may: not charge: fees that are prohibited by this Security

Note or by making a direct payment to Borrower. If a refund reduces principal, the reduction will be treated
as a pattial prepayment without any prepayment charge (even if a prepayment charge is provided for under
the Note). If I accept such a refund that is paid directly to me, I will waive any right to bring a lawsuit against

- 48, Notices Required under this Security Jastriament. All notices ‘given by me. or Lender in
connection with this Security Instrument will be in writing. Any notice to me in connection with this Security
Instrument is-considered given to me when mailed by first class mail or when actually delivered to my notice

address if sent by other means. Notice to any one Borrower will be notice to all Borrowers unless Applicable

one time. Any notice to’Lender will be given by delivering it or by mailing it by first class mail to Lendex’s
address stated on the first page of this Security “Instywpent unless Lender has given me notice of another

ecurity Instrument is governed
ions contained in this Security Instrument
¢ Law, Applicable Law might allow the parties to

are subject to.any requirements ancl limifapons:pf Appia!

agree by contract or it might be'silent, “put 'sugh ‘silericé ‘des inot:mean that Lender and I cannot agree by
contract. If any term of this Security Instrument or of the Note conflicts with Applicable Law, the conflict will
not affect other provisions of this Security Instrument or the Note which can-o , or be given effect,
without the conflicting provision. This means that the Security Instrument or the Note will remain as if the

conflicting provision did notexist. me v
. _ As used in this Security Instrument: (a) words of
words of the feminine and neuter genders? (b}-words:
in the plural mean -and, include :the in
obligation to take any‘action. ;

sward'fmay" gives sole discretion without any
3 .

it of this Security Instrument.

17. Borrower’s Copy.t Be NOB
. 18. Agreements about Len s ‘0; ‘Transferred. Lender may require
Immediate Payment inf Full of all Sums Secured ty ri :

or if any right in the Property, is

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If Borrower is not a natural Person and a beneficial ‘interest in Borrower is sold or transferred without

due tinder this Security Instrument and the Note
ede

_ &)T pay all of

Lender may require that I pay the sums and expenses mentioned in (a) through (d) in one or more of the
following forms, as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's

_ If T fulfill all of the conditions in this Section 19, then this Security Instrument will remain in full effect
as if Immediate Payment in Full had never been required. However, I will not have the Tight to have Lender’s

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,__20. Note Holder’s Right to Sell the Note or an Interest in the Note; Borrower’s Right to Notice of
Change of Loan Servicer; Lender’s and Borrower's Right to Notice of Grievance. The Note, or an
interest in the Note, together with this Security Insttument, may be sold one or more times, I might not

the Loan Servicer or be.transferred to’a sii

Servicer other than the purchaser of the Note; be momaige Joah servicing obligations to me will remain with
unless otherwise provided by the Note purchaser, oe

alleges that the other has not fulfiMled ahy. pf. iis!
notified (in the manner sequiredundér See

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purposes of this paragraph. The notice of acceleration and-opportunity to cure given to me under Section 22
and the notice of-the demand for-payment in full given.to-me under Section 22 will be deemed to satisfy the
potice and opportunity to take corrective action provisigns of this Section 20. All rights under this paragraph
are subject to Applicable Law. eo Te

21. Continuation of Borrower's Obligations to. Maintain ‘and Protect the Property. The federal
laws and the Jaws of New York State that relaté to: Health i i
"Environmental Law.” Environmental Law classifies i
‘substances that are considered hazardous ifox -purpos! 3
Kerosene, other flammable or toxic petroledini fproduots,siaixic: pesticides ‘and herbicides, volatile solvents,

hazardous by Environmental Law and the substances considered hazardous for purposes of this Section 21
are called "Hazardous Substances.” “Environmental Cleanup” includes any response action, remedial action,
or removal action, as defined in Environmental Law. An "Environmental Condition” means a condition that
can cause, contribute to, ot otherwise tigger an Enyironmental Cleanup. soe .

_ L will not do anything affecting” the, Prc ; violates Environmental Law, and I will not allow
anyone else to do so. I-will not calise orpies stances tk the Property. I will not
ia i dispose of Hazardous Substances on the

, or release any” ious Substance Hlahs rtyand 1 wilt not allow anyone else 10'do so. I -
also will not do, nor allow anyone elsé to do, alything affgctihg the Property that: (a) is in violation of any
Environmental Law; (b) creates an Environmental: dition; or (c) which, due to the presence, use, or release

in this paragraph do not apply to the presence; use; or storage on the Property of small quantities of
Hazardous Substances that are generally recognized as appropriate for normal residential use and maintenance
of the Property (including, but not Timited to, ‘Hazardous’ Substances in consumer products). J may use or
store these small quantities on the Property. In addition, unless Environmental ‘Law requires removal or other
action, the buildings, the improvements and the fixtures on the Property are pesmitted to contain asbestos and.
asbestos-containing materials if the asbestos’ and -asbestos-containing materials are undisturbed and

Substance; and (c) any condition caused by the presence, use OF release of a Hazardous Substance which :
adversely affects the value of the Property. If I learn; or any governmental or regulatory authority, or any - ‘
private party, notifies me that any removal or other remediation of any Hazardous Substance affecting the ‘
Property is necessary, I will promptly take all necessary remedial actions in accordance with Environmental :
Law. ‘ . so ~ - :

Nothing in this Security Instrument creates an obligation on Lender for an Environmental Cleanup.

ite

1 algo promise and agree with Lenider as follows: . ek Lo ee .
22. Lender's Rights If Borrower Fails to: KeepsPromises‘and Agreements. Except as provided in
Section 18 of this Security Instrament, #f all of the toilditions stated in subsections (a), (b) and (c) of

unpaid under the Note and under

farther demand for paym
Tf Lender requires Imm

remaining rights in the Propert) rOperly St

may acquire the Property. This is known ‘as."Fortelosure and Sale." In any lawsuit for Foreclosure

and Sale, Lender will have the right to collect all costs and disbursements and additional allowances

allowed by Applicable Law and :wili have the right to add all reasonable attorneys’ fees to

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| the amount I owe Lender, which fees shall become part of the Sums Secured.
i Lender may require Immediate Payment in Full under this Section 22 only if all of the following
‘ conditions are-met: ER Te
(a) 1 fail to keep any promise or agreement made! ih fhis Security Instrument or the Note, including,
but not limited to, the promises to pay the Sums Secared when due, or if another default occurs under
: this Security Instrument; . na 3
(b) Lender sends to m
States; .

(3) A date by which I must correct
date on which the nolice is given;
(4) That if I do not correct the defa
Immediate Payment in Fall, an

means of Foreclosure and Sales: +1

AF of this Security Instrument, 1 will have
ecurity Instrument stopped and to-have the

ily effective as if Immediate Payment in Full had

ethoshire and Sale to argue that I did keep my
i promuses and agreements under the Note'and under this Security Instrument, and to present
: any other defenses that I may havg;-and::_,- ¥

(5) That if Emeet thd condigons stated $
the right to-liave Letiiier’g' cin :
Note and this Securit} Ingirui ent Fema
never been required; and =‘

costs of recording the discharge in the Proper official records. I agree to pay a fee-for the discharge of this
Security Instrument, if Lender so requires, Lender may-require that I Pay such a feé, but only if the fee is paid
to a third party for services rendered and the chargi g of the fee is permitted by Applicable Law.

Ci This Security Instrument covers real property improved, or to be improved, by a one or two family
dwelling only. Rt, “ .
CI nis Security Instrument coyers real Propeaty.qrincipally improved, or to be improved, by one or
more structures containing, in ‘the aggregate, not more than six residential dwelling units with each |
— dwelling unit having its own separate cooking facilities, _ :
(_] this Security, Instrument does not cover real. prgperty improved as described above,

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BY SIGNINS v1 accept and agree to the promises and agreements contained in pages 1

through 17 of this Securi Tnstrument and in any Rider sigried by me and recorded with it
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> : (Seal)
— ~ - -Borrower
(Seal)
. Bortower
(Seal)
-Borrower
(Seal) _ __- __. (Seal)
-Borrower , : . -Borrower —
___ Geal)-. eal)
-Borower * : ” : -Borrower
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netic

ADJUSTABLE RATE RIDER
(LIBOR Six-Month Index (As Published In The Wall Street Journal) - Rate Caps)
2 YEAR RATE LOCK , :

THIS ADJUSTABLE RATE RIDER is made this -- 24th day of |

2004 ,and is incorporated into and shalt be deemed to.amend and supplement the Mortgage, Deed of Trust,

Security Deed (the "Security Instrument") of the Sam e(late given’ by the undersigned ("Borrower") to secu
. ee \

Borrower’s Adjustable Rate Note (the "Note”) to’: &
NEW CENTURY MORTGAGE CORPORATION o

("Lender") of the same date and covering the e a
“ oR OG aap

. lhe a eb 7
152 BEECH StREET;i nine WY age FS

sf

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(Property ‘Address)

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ADDITIONAL COVENANTS. In 4

gs a
Instrument, Borrower and: Lender further'Ui an i lapis:
ee gae gerees TORS
. : Deby Oe oe
A. INTEREST RATE AND MONTHLY PAYMENT @HANGES

‘The Note provides for an initial interest rate of“ 6.
Tate and the monthly payments as follows: *,

‘

4. INTEREST RATE AND MONTHLY PAYMENT CHANGES

(A) Change Dates .
The interest rate I will pay may change on the first day of October ,
on the same day of every 6th month thereafter, Each date on which my interest rate could change is called an
"Interest Rate Change Date." :
(B) The Index Coe

Beginning with the first Interest Rate Change Date, mny interest rate will be based on an Index plus a
margin. The "Index" is the average of interbank offered rates for six-month dollar deposits in the London market
("LIBOR"), as published in The Wall Street Journal "Money Rates" Table. The most recent Index figure availabi

i i Preceding the month in which, the i

called the "Current Index.” vee

i the Tndex is no longer available, the Note Holder will chogse a new inde that &

information. The Note Holder will give me notiog. of this Aojee. ee

2/28 Six Month LIBOR Adjustable Rate Rider ee
RE409 © 13)

September.

Propeiy distited inthe Security Tntrument and located a:

6.5000 °%. "The Note provides for changes in the i

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STATE OF NEW YORK, : vey County ss:

rn .
On the 24 ~~ day of , APH before me, the undersigned, a notary
public in and for said state, personally appeared - :

lowdes Miniop. °

personally known to me or proved to me on the basi¢-f satisfactory evidence to be the individual(s) whose
name(s) is/are subscribed to the within instrument and:acknowledged to me that he/she/they executed the
same in his/her/their capacity(ies), and that by his/her/their sigitature(s) on the jneteament, whe individual(s), or
the person upon behalf of which the individual(s) acted, ec e .

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C) Calculation of Changes

my.
as
s

At each Interest Rate Change Date, “the Noid, Holdey
Five and Fifty-Five Hundredths © (2:

the next Interest Rate Change Date.

Monthly payment until the Interest Rate Change Date.

) Linit on Interest Rate Changes

E) Effective Date of Changes

The Note Holder will deliver or mail ty ad's any changes in my

may have regarding the notice.

2/28 Six Month LIBOR Adjustable Rate Rider
RE-4 (117803)

(1/12thy of one (1) year’s
interest at 6.5000 % per anmm, The-tesult of this calculation will be the ammount of my

F interest’ rate

ehitin aon

will’ dalculate’ my new interest rate by adding
oR . _ Percentage points ( 5.5500 %) to the

Current Index, hs Note Holder will then round this figure to the nearest one-eighth of one percentage poirt

0.125%). Subject to the limit stated in Section 4(D) below, this rounded amount will be my new interest rate until

Purposes of each calculation, that the interest rate Temained unchanged during that period.
The result of this calculation will be the new amount of my monthly payment.

‘The interest rate T am required to pay at the first Change Date will not be greater than 8.0000 % or less
6.5000. %, ‘Thereafter, my interest rate will never be increased or decreased on any single

ore nea? mate than one and one half percentage point (1.5%) from the rate of interest T have eon eying

jor the preceding month. My interest rate will never be preater than 13.5000 % nor less than 6.50007.

celot ite and the amount of my
onthly payment at least 25 days before the ‘effective date ofany change. ‘The notice will inchide information
Fequi Dy law fo be given me and also the ttle and telephone number of a person who will answer any questions

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11. GOVERNING LAW - SECURED

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The Note is governed by federal Jaw and the law of the jurisdiction in which the property
encumbered by the Security Instrument (as defined below) is located. In addition to the protections
given to the Note Holder under the Note, a Mortgage, Deed of Trust or Security Deed (the "Security
Instrument"), dated the same date as the Note protects the Note Holder from possible losses which -
might result if T do not keep the promises “which I make in the: Note. That Security Instrument

. describes how and under what conditions:I. m2:
- amounts T owe under: the, Note. Some of those

bnditiens ate’ described as follows:

be, required-to. make:immediate payment in full of all

‘Transfer of the Property or a Beneficial Interest in Borrower. Tf all or any part of the Property or any : .
Haan in fis aold or transferred (or if a beneficial interest in Borrower is sold or transferred and Borrower i :

nota natural person) without Lender's prior writen fongent, Lender may, at its option, require immpesin®s

payment in full of all sums secured by this Security Instrument. "However, this option shall not be exercised by

Lender if exercise is prohibited by federal law as of the date of this Security Instrument.

¥f Lender exercises this option, Lender shall give Borrower notice of acceleration. ‘The notice shall provide a
ened of not less than 30 days from the date the notice is delivered or mailed within which Borrower anal Pay sl
sums secured by this Security Instrument. If Borrower Tails to pay these sums prior to the expiration of this _ .
remied, Lender may invoke any remedies pormited by this Security Instrument without further nooe or demand -

on Borrower.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants cortained in this

Adjustable Rate Rider.

LOURDES NINIER — - Borrower
~ Borrower ~ Borrower
/ - Borrower
- Borrower
(Sign Original Only)
~ NCMC ,
” 2/28 Six Month LIBOR Adjustable Rate Rider :
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: kerr 010406 |

1-4 FAMILY RIDER

(Assignment of Rents)

THIS 1-4 FAMILY RIDER is made 4th day of September 2004 :
Seanag incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of Trost, or
Security Deed (the "Security Instrument’) of the same date given by the undersigned (the "Borrower") to
secure Borrower's Note to : “

NEW CENTURY MORTGAGE CORPORATION

ot ota : (the
"Lendex") of the same date and covering: the Property described in the Security Instrument and located at:
152 BEECR STREET, YONKERS, NY 10701 , .

[Property ‘Address

1-4 FAMILY COVENANTS. In. addition to the covenants and agreements made in the Security
Instrument, Borrower and Lender further ‘covenant and agree as follows: ‘ .

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A. ADDITIONAL PROPERTY SUBJECT 4 THE SECURITY INSTRUMENT. In addition to
the Property described in the Security:‘Tnstrument, the: following items now or hereafter attached to the

Property covered by the Security Instrument:..buildng -materials, appliances and goods of every nature
whatsoever now or hereafter located in, on, or used, or intended to be used in connection with the Property,
‘ urposes of: supplying or distributing heating, cooling, electricity,
gas, water, ait and light, fire Prevention and extinguishing apparatus, security and access control apparatus,
plumbing, bath tubs, water heaters, water closets, sinks, ranges, stoves, refrigerators, dishwashers, disposals,
washers, dryers, awnings, storm windows, storm doors, screens, blinds, shades, curtains and curtain Tods,
attached mirrors, cabinets, paneling and attached floor coverings, all of which, including replacements and

this:1~4 Family Rider and the Security Instrument

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MULTISTATE 1- 4 FAMILY RIDER - Fannle M eddie Mac UNIFORM INSTRUMENT -
. . Po ap , ‘hills: 3 Ae
Pagelof4 ‘' * Form 3170 1/01

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5B. USE OF PROPERTY; COMPLIANCE WITH LAW. Borrower shall not seek, agree to or make a
change in the use of the Property or its zoning classification, unless Lender has agreed in writing to the
change. Borrower shall comply with all Jaws, ordinances, regulations and requirements of any governmental
body applicable to the Property.

C. SUBORDINATE LIENS. Except as permitted by federal law, Borrower shall not allow any Bien
inferior to the Security Instrument to be perfected against the Property without Lendes’s prior written
pemnission, woe

D. RENT LOSS INSURANCE. Borrower shall rhaintain insurance against rent loss in addition to the

. other hazards for which insurance is required by Section 5.-

E."BORROWER’S RIGHT TO REINSTATE” DELETED. Section 19 is deleted.

F. BORROWER'S OCCUPANCY. Unless Lender and Borrower otherwise agree in writing, Section 6

concerning Borrower's occupancy of the Property is deteted.

G. ASSIGNMENT OF LEASES. Upon Lender Witequest after default, Borrower shall assign to Lender
all leases of the Property and all security deposits made’in connection with leases of the Property. Upon the
assignment, Lender shall have the right to modify, extend. or terminate the existing leases and to execute new
leases, in Lendex’s sole discretion. As used in this paragraph G, the word "lease" shall mean “sublease” if the
Security Instrument is on a leasehold. - ne Poot

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H. ASSIGNMENT OF RENTS; AP) r ‘OF RECEIVER; LENDER IN POSSESSION.
Borrower absolutely and unconditionally assigns and transfers to Lender all the rents and revenues ("Rents")
of the Property, regardless of to whom the Rents of the Property are payable. Borrower authorizes Lender or
Lender’s agents to collect the Rents, and agrees that each tenant of the Property shall pay the Rents to Lender
or Lender’s agents. However, Borrower shall receive the Rents until: () Lender has given Borrower notice of
default pursuant to Section 22 of the Security Instrumen and (ii) Lender has given notice to the tenant(s) that
the Rents are to be paid to Lender or, Lendet's agéit: This assignment of Rents constitutes an absolute
assignment and not an assignment for additiongt sé Wet .

If Lender gives notice of défault to’ Borrower: (i) “all Rents received by Borrower shall be held by
Borrower as trustee for the benefit of Lender only, ‘to be applied to the sums secured by the Security
instrument; (ii) Lender shall be entitled to éollect and-‘recéiveall of the Rents of the Property; (ii)

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Form 3170 1/01

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Borrower agrees that each tenant of the Property shall pay all Rents due and unpaid to Lender or Lender’s

agents upon Lender's written demand to the tenant; (iv) unless applicable law Provides otherwise, all Rents
collected by Lender or Lender’s agents shall be applied first to the costs of taking control of and managing
the Property and collecting the Rents, including, but not limited to, attorney's fees, receiver's fees, premiums

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If the Rents of the Property are not sufficient to cover the costs of taking control of and managing the
Property and ‘of collecting the Rents any funds experided by Lender for such purposes shall become
indebtedness of Borrower to Lender secured by the Security Instrument pursuant to Section 2 |

Borrower represents and warrants that Borrower -has not executed any prior assignment of the Rents and
has not performed, and will not perform, any aff that would prevent Lender from exercising its rights under

Lender, or Lender's agents or a judicially appointed receiver, shall not be required to enter upon, take
control of or maintain the Propexty before or after sivitg ‘potice of default 10 Borrower, However, Lender, or
Lender's agents ‘or a judicially appointed reeiver,‘may do’ so’ at any time when a. default occurs, Any

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lBirowi 3 ts HiStadu'de breach under any note or agreement in
which Lender has an interest shall be 4 breach'under thé Security Instrument and Lender may invoke any of
the remedies permitted by the Security Instrument. . . .

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57 (0008) Page 9 of 4 : ” Form 3170 1/01

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BY SIGNING BELOW, Borrower accepts ‘and agrees to the terms and provisions Co!
Family Rider. . .

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-Borower - , --Borrower
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~Borrower
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